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                         EXHIBI丁 5

NOTICE OF ENTRY OF APPEARANCE AS
  AttTORNEY OR REPRESENTA丁 IVE
                      MAY5′ 1998
                    Case 3:17-cr-00116-LRH-WGC Document 24-5 Filed 11/01/18 Page 2 of 2
                          NOTICE OF Eヽ ^̀f OF APPEARANCE AS ATTORNEY OR̲.̲.RESENTATⅣ E
                                    BEFORE THE OFFICE OF THE IMPIIGRAT10N JUDGE
                                     EXECUTIVE OFFICE FOR IMⅣ IIGRAT10N REVIEW

TYPE OF PROCEEDING FOR WHICH I AM ENTERING AN APPEARANCE:                                               DATτ ̲へ    ´η
(check only one)                                        □    Exclusion                                               『
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.{       neportation (lncludittg Bond                   □    Motion to Reopen/Reconsider
         Redelerminatiott.                                   Other                                      nwnber and all fomilt member alien
                                                                                                        numbers if applicable)
I hereby enter my appearance as attorney (or representative) for and at the request
of the following named person(s):                                                                       A14       -?tt -      7?,o




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NAME
ADDRESS                             ′A Na'                           d Sr″ ′
                                                                           リ                                  (State)            (Zip Code)



Check           if Applicable Item(s)     below:


  q         I   .     I am an attorney and a member in good standing of the bar of the Supreme Court of the United           States or of the
                      highest         the      ing State, territory, insular possession, or District of Columbia
                                                                                                                   and am not under a court
                                                                         (Name of Coun)
                      or administrative   agency order suspending, enjoining, disbarring,   or otherwise restricting me in practicing    law.


  Z        2    .     I am an accredited representative of the following named religious, chariable, social service, or similar organization
                      established in the United States and which is so recognized by the Board:



 E 3. I am associated with                                                                                                                the
                      attorney ofrecord who previously filed a notice ofappearance in this case and my appearance is at his/her request.
                                                                 I
                      (lf you check this item, also check item or 2 whichever is appropriate.)

 E 4.                 Other (Explain fully.)




SIGNATURE                                                                   COMPLETE ADDRESS匡             コ Check here if this is a new
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NAME            (Type or   print)                                           TELEPHONE NUMBER
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PURSUANT TO THE PRIVACY ACT OF 1974,I HEREBY CONSENT TO REPRESENTAT10N BY                                                       AND THE
DISCLOSURE TO THE FOLLOWING NAMED ATIDRNEY OR REPRESENTATIVE OF ANY                                                              RECORD
PERTAINING TO ME WHICH APPEARS IN ANY EOIR SYSTEⅣ 1 0F RECORDS:
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                                                      (Name of Attorney or Representative)
NAME OF PERSON CONSENTING                                                SICNATURE OF PERSON CONSENTING                         DATE
え                                   ″   4/‐                                                                                    5‑有 ‐1
       : Execution of this box is required       the Privacy Act of 1974       the person being represented is or claims to
be a citizen of the United States or an alien latufully admitted for permanent residence.)

                                                                                                                                 FORM EO:R‑28
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